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                      EXHIBIT 5
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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

                                                   CASE NO: 6:20-cv-00831-RBD-GJK

   RAEANN BAYLESS,

           Plaintiff,

   v.

   BOSTON SCIENTIFIC CORPORATION,
   and COLOPLAST CORP.,

         Defendants.
   _____________________________________/

                             PLAINTIFF’S WITNESS LIST “A”

             Plaintiff, Raeann Bayless, by and through undersigned counsel, and pursuant

   to the Court’s Case Management and Scheduling Order (Doc. 98, at § V(C)(2)(a)),

   hereby submits the following list of individuals who “will definitely be called to testify”

   as witnesses at trial:

        1. Raeann Bayless – Plaintiff
           1754 Poinciana Circle
           Titusville, FL 32796

        2. Kassidy Joe – Daughter
           1754 Poinciana Circle
           Titusville, FL 32796

        3. Dr. Bruce Rosenzweig – Expert Witness (see Pltf. Expert Witness List)
           Rush University Professional Building
           1725 West Harrison Street, Suite 358
           Chicago, IL 60612
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      4. Dr. Jimmy Mays –Expert Witness (see Pltf. Expert Witness List)
         University of Tennessee at Knoxville
         Department of Chemistry
         655 Buehler Hall
         Knoxville, TN 37996

      5. Dr. Kathy Jones – Treating Physician
         2501 North Orange Ave.
         Suite 309
         Orlando, FL 32804

      6. Dr. Lisa Rose – Treating Physician
         BHA Sarno Family Medicine
         2120 Sarno Road
         Melbourne, FL 32935

      7. Dr. Francisco Garcia – Treating Physician
         Parrish Medical Center
         951 North Washington Ave.
         Titusville, FL 32796

      8. Corinne West, ARNP – Treating Physician
         BHA Titusville
         500 North Washington Ave.
         Suite 105
         Titusville, FL 32796

      9. Dr. Dennis Miller – BSC Corporate Representative
         Boston Scientific
         100 Boston Scientific Way
         Marlborough, MA 01752-1234
      10. Doreen Rao – BSC Corporate Representative
          Boston Scientific
          100 Boston Scientific Way
          Marlborough, MA 01752-1234
      11. Evan Brasington – BSC Corporate Representative
          Boston Scientific
          100 Boston Scientific Way
          Marlborough, MA 01752-1234



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      12. Janice Connor – BSC Corporate Representative
          Boston Scientific
          100 Boston Scientific Way
          Marlborough, MA 01752-1234

      13. Dale Klous – Coloplast Corporate Representative
          Coloplast Corp.
          1601 West River Road North
          Minneapolis, MN 55411

      14. Julie Kerkvliet – Coloplast Corporate Representative
          Coloplast Corp.
          1601 West River Road North
          Minneapolis, MN 55411

      15. Thomas Broome – Coloplast Corporate Representative
          Coloplast Corp.
          1601 West River Road North
          Minneapolis, MN 55411



          Plaintiff reserves the right to call any witness identified as a trial witness by the Defendants

   in this case. Plaintiff reserves the right to add or remove witnesses from this list depending upon

   the case presented by Defendants, the witnesses called by Defendants, the need for impeachment

   or rebuttal witnesses, the evidence admitted at trial, and the general progress of trial.




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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

                                                  CASE NO: 6:20-cv-00831-RBD-GJK

   RAEANN BAYLESS,

           Plaintiff,

   v.

   BOSTON SCIENTIFIC CORPORATION,
   and COLOPLAST CORP.,

         Defendants.
   _____________________________________/

                            PLAINTIFF’S WITNESS LIST “B”

             Plaintiff, Raeann Bayless, by and through undersigned counsel, and pursuant

   to the Court’s Case Management and Scheduling Order (Doc. 98, at § V(C)(2)(a)),

   hereby submits the following list of individuals “who may be called to testify” as

   witnesses at trial:

        1. Dr. Scott Guelcher – Expert Witness (see Pltf. Expert Witness List)
           Polymer and Chemical Technologies, LLC
           1008 Caldwell Avenue
           Nashville, TN 37204

        2. Dr. Peggy Pence – Expert Witness (see Pltf. Expert Witness List)
           Symbion Research International, Inc.
           1533 Miimar Drive
           Newport Beach, CA 92661
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      3. Robert Miragliuolo – BSC Corporate Representative
         Boston Scientific
         100 Boston Scientific Way
         Marlborough, MA 01752-1234
      4. Charles Smith – BSC Corporate Representative
         Boston Scientific
         100 Boston Scientific Way
         Marlborough, MA 01752-1234
      5. Alfred Intoccia – BSC Corporate Representative
         Boston Scientific
         100 Boston Scientific Way
         Marlborough, MA 01752-1234
      6. George Vialle – BSC Corporate Representative
         Boston Scientific
         100 Boston Scientific Way
         Marlborough, MA 01752-1234
      7. James Goddard – BSC Corporate Representative
         Boston Scientific
         100 Boston Scientific Way
         Marlborough, MA 01752-1234
      8. Frank Zakrzewski – BSC Corporate Representative
         Boston Scientific
         100 Boston Scientific Way
         Marlborough, MA 01752-1234

      9. Ankur Garg – Coloplast Corporate Representative
         Coloplast Corp.
         1601 West River Road North
         Minneapolis, MN 55411

      10. Ashwini Keswani – Coloplast Corporate Representative
          Coloplast Corp.
          1601 West River Road North
          Minneapolis, MN 55411




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      11. Douglas Devens – Coloplast Corporate Representative
          Coloplast Corp.
          1601 West River Road North
          Minneapolis, MN 55411

      12. Elsebeth Aagaard – Coloplast Corporate Representative
          Coloplast Corp.
          1601 West River Road North
          Minneapolis, MN 55411

      13. ErinMarie Carrick – Coloplast Corporate Representative
          Coloplast Corp.
          1601 West River Road North
          Minneapolis, MN 55411

      14. Geoffrey Daniel – Coloplast Corporate Representative
          Coloplast Corp.
          1601 West River Road North
          Minneapolis, MN 55411

      15. James Schumer – Coloplast Corporate Representative
          Coloplast Corp.
          1601 West River Road North
          Minneapolis, MN 55411

      16. Jennifer Englund – Coloplast Corporate Representative
          Coloplast Corp.
          1601 West River Road North
          Minneapolis, MN 55411

      17. Joel Chechik – Coloplast Corporate Representative
          Coloplast Corp.
          1601 West River Road North
          Minneapolis, MN 55411

      18. Jon Cornell – Coloplast Corporate Representative
          Coloplast Corp.
          1601 West River Road North
          Minneapolis, MN 55411




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      19. Steffen Hovard – Coloplast Corporate Representative
          Coloplast Corp.
          1601 West River Road North
          Minneapolis, MN 55411

      20. Tim Crabtree – Coloplast Corporate Representative
          Coloplast Corp.
          1601 West River Road North
          Minneapolis, MN 55411



          Plaintiff reserves the right to call any witness identified as a trial witness by the Defendants

   in this case. Plaintiff reserves the right to add or remove witnesses from this list depending upon

   the case presented by Defendants, the witnesses called by Defendants, the need for impeachment

   or rebuttal witnesses, the evidence admitted at trial, and the general progress of trial.




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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

                                                   CASE NO: 6:20-cv-00831-RBD-GJK

   RAEANN BAYLESS,

           Plaintiff,

   v.

   BOSTON SCIENTIFIC CORPORATION,
   and COLOPLAST CORP.,

         Defendants.
   _____________________________________/

                           PLAINTIFF’S EXPERT WITNESS LIST

               Plaintiff, Raeann Bayless, by and through undersigned counsel, and pursuant

   to the Court’s Case Management and Scheduling Order (Doc. 98, at § V(C)(2)(b)),

   hereby submits the following list of expert witnesses who will or may be called to testify

   at trial:

        1. Dr. Bruce Rosenzweig – Expert Witness (Urogynecologist) – Will Testify
           Rush University Professional Building
           1725 West Harrison Street, Suite 358
           Chicago, IL 60612

           Summary of Testimony:        Dr. Rosenzweig will testify about his opinions

   contained within both his general and case-specific expert reports, his own

   experience(s) with mesh, the complications associated with mesh, the causes of those

   complications, the risks/benefits of mesh procedures, his review of Boston Scientific
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   and Coloplast internal documents, Plaintiff’s medical records, Plaintiff’s medical

   history, the cause of Plaintiff’s pain and other related symptoms, as well as any subjects

   discussed during his deposition(s).


      2. Dr. Jimmy Mays –Expert Witness (Polymer Science) – Will Testify
         University of Tennessee at Knoxville
         Department of Chemistry
         655 Buehler Hall
         Knoxville, TN 37996

         Summary of Testimony: Dr. Mays will testify about his opinions contained

   within his expert report regarding polypropylene and how it reacts in the human body,

   the chemical properties of polypropylene, and polypropylene’s susceptibility to

   thermo-oxidative degradation, as well as any subjects discussed during his

   deposition(s).



      3. Dr. Scott Guelcher – Expert Witness (Chemical Engineering) – May Testify
         Polymer and Chemical Technologies, LLC
         1008 Caldwell Avenue
         Nashville, TN 37204

         Summary of Testimony: Dr. Guelcher will testify about his opinions contained

   within his expert report regarding polypropylene and how it reacts in the human body,

   the female pelvic environment where these meshes are implanted, and the Defendants’

   consideration of whether its meshes would be stable in an oxidative environment, as

   well as any subjects discussed during his deposition(s).




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      4. Dr. Peggy Pence – Expert Witness (Regulatory) – May Testify
         Symbion Research International, Inc.
         1533 Miramar Drive
         Newport Beach, CA 92661

          Summary of Testimony: To the extent that regulatory evidence is deemed

   admissible or necessary, Dr. Pence is a regulatory expert who will offer testimony

   regarding the clearance process for the Advantage Fit sling and Restorelle Y mesh,

   FDA regulatory process in general, as well as any subjects discussed in her expert

   report and deposition(s).



          Plaintiff reserves the right to call any witness identified as a trial witness by the Defendants

   in this case. Plaintiff reserves the right to add or remove witnesses from this list depending upon

   the case presented by Defendants, the witnesses called by Defendants, the need for impeachment

   or rebuttal witnesses, the evidence admitted at trial, and the general progress of trial.




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